8/15/2018 Case: 1:18-Cv-05369 Documentr#!<Mr&i|etdac©@¢£l®hl|$o§b§gle@ of 3 Page|D #:489

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Roga| Moil

Sending mail Receiving mail Shop Help & support Business services

Home Track and Trace - Track your |tem

Track and Trace - Track your |tem

Check the progress of your deliveries

 

Delivered

 

Tracking no. BH505807407GB
Your item Was delivered on 15-08-2018.

 

 

 

Service used:
Royal Mail Special Delivery Guaranteed lpm“‘

 

 

 

 

Signed for by: N REED

Delivered: 9:45am

https://www.royalmail.com/track-your-item#/tracking-results/BH505807407GB

1/3

8/15/2018 Case: 1:18-Cv-05369 Documentr#!<Mr&i|etdac©@¢£l®hl|$o§b§gle® of 3 Page|D #:490

Updated on: Wednesday 15 August

 

09:45am

Delivered and Signed
Newton Abbot DO

 

 

 

Hide earlier journey

Wednesday 15 August

 

08:26am

Due to be delivered today by
Newton Abbot DO

 

 

08:26am

Due to be delivered today by
Newton Abbot DO

 

 

 

Wednesday 15 August

 

07:30am

Arrived at
Newton Abbot DO

 

 

 

Wednesday 15 August

 

05:35am

|tem Despatched
Exeter Mail Centre

 

 

 

Wednesday 15 August

 

04:27am

https://www.royalmail.com/track-your-item#/tracking-results/BH505807407GB

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8/15/2018 Case: 1:18-Cv-05369 Documentr#!<Mr&i|etdac©@¢£l®hl|$o§b§gle® of 3 Page|D #:491
Arrived at

Exeter Mail Centre

 

Tuesday 14 August

 

08:50pm

|tem Despatched
London Central Mail Centre

 

 

 

Tuesday 14 August

 

07:57pm

|tem received at
London Central Mail Centre

 

 

 

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